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                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                                                                                February 01, 2017
                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS                         David J. Bradley, Clerk

                           CORPUS CHRISTI DIVISION

OLIVER ESPARZA,                               §
                                              §
            Plaintiff,                        §
VS.                                           §   CIVIL NO. 2:16-CV-352
                                              §
MEDICREDIT, INC.,                             §
                                              §
            Defendant.                        §

                                          ORDER

          The Court is in receipt of the parties’ Joint Stipulation of Dismissal with
Prejudice, Dkt. No. 11.
          Federal Rule of Civil Procedure 41 states, in part, that “the plaintiff may
dismiss an action without a court order by filing . . . a stipulation of dismissal
signed by all parties who have appeared.” Fed. R. Civ. P. 41(a)(1)(A)(ii). “[A]
voluntary order of dismissal requested by both parties is effective upon filing and
does not require the approval of the court.” SmallBizPros, Inc. v. MacDonald, 618
F.3d 458, 461 (5th Cir. 2010) (quoting Ramming v. Natural Gas Pipeline Co. of Am.,
390 F.3d 366, 369 n.1 (5th Cir. 2004)). The motion states that the parties move
jointly to dismiss this suit. Dkt. No. 11 at 1. The parties jointly request dismissal of
this action with prejudice to re-filing, and state that each party will bear its own
costs, fees, and expenses. Id. The motion is signed by both parties in the action. Id.
at 1-2.
          In accordance with the joint motion and Federal Rule of Civil Procedure
41(a)(1)(A)(ii), the Court DISMISSES all claims with prejudice and DIRECTS the
Clerk to close the above-captioned case.


          SIGNED this 31st day of January, 2017.


                                              ___________________________________
                                              Hilda Tagle
                                              Senior United States District Judge
